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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 98-0014-CIV-DIMITROULEAS
INTERNATIONAL LONGSHOREMEN’S Magistrate Judge Johnson

ASSOCIATION, LOCAL 1416, ON ITS BEHALF
AND ON BEHALF OF ITS MEMBERS,

Plaintiffs, fj (
aintiffs i it
VS.

MIAMI-DADE COUNTY,

Defendant.

FINAL ORDER OF DISMISSAL
THIS CAUSE ts before the Court upon Defendant’s Motion to Dismiss Amended
Complaint and Motion for Summary Judgment [DE 16]. The Court has carefully considered the
motion, and is otherwise fully advised in the premises.
I]. BACKGROUND
This case concems a constitutional challenge to an ordinance enacted June 2, 1998 by the
Miami-Dade County Commission to increase security and reduce crime at the Port of Miam

(“Port”) (hereinafter, “Ordinance’).'

Plaintiffs, a labor union representing its employees who are
employed by private corporations but work at the Port, challenge in their Amended Complaint

the portion of the Ordinance regarding issuance of “Seaport identification cards” (“TD’’) to

workers at the Port. The Ordinance requires persons who center the Port, except cruise ship

 

' Since neither party submitted a certified copy of the Ordinance, the Court attempted to
research the Ordinance’s official number through on-line research databases, but could not find
the Ordinance’s number. However, for identification purposes, the Ordinance at issue was
apparently enacted June 2, 1998, and amended Chapter 28A (Seaport Security) of the Miami-
Dade County Code of Ordinances.
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passengers, to obtain an ID. Thus. aif workers at the Port. including the Piainutts, must apply tor
and obtain an ID to report to their jobs.

The Ordinance. as amended, requires denial of an ID to a current Port worker if he or she
has had a felony conviction or finding of guilt on a felony charge within the last five years for:
a) cargo theft; b) smuggling; c) the usage, possession, sale, or trafficking of any controlled
substance; d) dishonesty. fraud. or misrepresentation; e) felony theft; f) any violent crime
committed with a weapon: or g) anv crime committed under Florida Statutes Chapter 812
(entitled “Theft. Robbery and Related Cnmes”) or its tederal law counterpart.” Ordinance,
Section 28A4-5.3(2). In addition, the Port Director may suspend or revoke the use of an ID card
based upon any felony arrest, conviction, finding of guilt or other just cause, provided that the
power to suspend, revoke or reinstate may not be exercised in conflict with a decision by the
appeals committee. Ordinance. Section 28A-5.5.

Those who are dented an ID have the right to appeal the decision to an appeals
committee. Ordinance. Section 28A-5.3(h). The five-member appeals committee consists of a
member of the Dade Police Chicfs’ Association, the Special Agent in charge of the U.S. Customs
Service in Miami, a representative of the employee’s employer, the Port Director, and a union or
cmployee representative. Id.

Plaintiffs’ Amended Complaint argues that this Ordinance violates the United States
Constitution and the Florida Constitution under the Equal Protection Clause. the Due Process
Clause, the Ex Post Facto Clause, and the Contracts Clause. In addition, Plaintiffs allege that the

revocation and appeals procedures allow unbridled discretion for the denial of an ID card.

 

> For new Port employees, no applicant may be issued an ID if they have had any felony
conviction or finding of guilt on a felony charge in the last ten years.

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ll. DISCUSSION

In its Motion to Dismiss or Motion for Summary Judgment, the Defendant asserts that the
Plaintiffs’ Amended Complaint should be dismissed for lack of a controversy and failure to state
aclaim. It is long settled that a complaint should not be dismissed unless it appears beyond a
doubt that the plaintiff could prove no set of facts in support of his claim which would entitle
him to relief. Conley v. Gibson, 355 U.S. 41 (1957). The allegations of the claim must be taken
as true and must be read to include anv theorv on which the plaintiff may recover. See Linder v.
Portocarrero, 963 F.2d 332, 334-336 (11th Cir.1992) (citing Robertson v. Johnston, 376 F.2d 43
(Sth Cir.1967)).

A. Ripeness as to Current Employees
The Eleventh Circuit has held that:
[JJusticiability concerns mandate that a plaintiff in a pre-enforcement

challenge demonstrate a realistic danger of sustaining direct injury as a result of

the statute's operation or enforcement. We have identified three ways in which a

plaintiff may meet this standard: (1) it was threatened with application of the

statute; (2) application is likely: or (3) there is a credible threat of application.

Socialist Worker’s Party v. Leahy. 145 F.3d 1240, 1245 (11 Cir. 1998) (citations omitted).

 

This Court finds that the plaintiffs have met this standard by showing that there is a
credible threat of application of the Ordinance to current emplovees at the Port of Miami. The
Miami-Dade County Commission would not have enacted a comprehensive anti-crime
ordinance. then substantially amended that ordinance after discussions with the Plaintiffs, and
then not enforce the ordinance. That the County has not to date enforced the statute (partly as a
result of an agreement between the parties resulting in the withdrawal of a motion for temporary
injunctive relief in this case) 1s not dispositive. Plainuffs who fall under the Ordinance’s permit

application denial criteria would lose their ability to work at their jobs once enforcement began.
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lherctore, Plaintiffs. as current employees, have demonstrated a realisuc danger of sustaining
direct injury under the Socialist Worker’s Party test.
B. Standing

A different conclusion as to justiciability must be reached as to prospective employees.
To the extent that Plaintiffs seek to challenge the law on behalf of new employees, a standing
problem exists. The Amended Complaint states that the “affected individuals are employed at
the Port ” Amended Complaint at V9. 11. It is not alleged that members of Plaintiff labor union
who wish to work at the Port of Miami, but are not currently employed at the Port ot Miami, are
eluded in this tawsuit. As stated above, the Court notes that current employees and prospective
employees are treated differently, and thus are not similarly situated under the Ordinance.
Therefore, the Court finds that the Amended Complaint must be dismissed without prejudice as
far as prospective employees are concerned.

C. Equal Protection and Due Process Clauses

Plaintiffs argue that the Ordinance violates the equal protection clause and the due
process clause of the United States Constitution and the Florida Constitution. Plaintiffs’
Amended Complaint states that the ordinance denics cqual protection and due process because it
singles out the Port of Miami as the sole geographic area under the ordinance and targets
individuals who have felony convictions or findings of guilt regardless of the relationship of the
convictions to crime at the Port of Miami or to the individuals’ propensity to commit crimes.
Amended Complaint at §f§ 22, 30. Neither of these arguments identifies a protected class or a
fundamental right under the precedents of the United States Supreme Court, the Florida Supreme
Court, or the United States Circuit Court of Appeals for the Eleventh Circuit. Therefore, a

rational basis test is appropriate for this ordinance. Bannum v. City of Fort Lauderdale, 157 F.3d
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819.822 (11% Cir. 1998); Chandler v. Georgia Pubhe Telecommunications Commission, 917
F.2d 486, 489 (11 Cir. 1990).
The rational basis test has been met in this case. As the Eleventh Circuit has stated:
This test is generally easily met. A searching inquiry into the validity of
legislative judgments concerning cconomic regulation is not required. The task is
to determine if "any set of facts may be reasonably conceived to justify” the
legislation. To put it another wav. the legislation must be sustained if there is any
conceivable basis for the legislature to believe that the means they have selected
will tend to accomplish the desired end. Even if the court is convinced that the

political branch has made an improvident, ill-advised, or unnecessary decision, it
must uphold the act if it bears a rational relation to a legitimate governmental

purpose.
der the rational basis test, the primary issues are: first, whether the
government has the power or authority to regulate the particular area in question;

and second. whether the method the Government has chosen to accomplish this

goal bears a rational relation to the ultimate objective.

Cash Inn of Dade, Inc. v. Metropolitan Dade County, 938 F.2d 1239, 1241 (11" Cir. 1991)
(citations omitted).

Plaintiffs do not allege that the Miami-Dade County Commission does not have the
authority to regulate security at the Port of Miami. Even if thev did, the Court finds that the
Miami-Dade County Commission does have the authority to provide for security clearances for
entry into the Port of Miami under its powers to protect the general welfare of the citizens of
Miami-Dade.

Plaintiffs do argue that the Ordinance is not rationally related to the purpose of reducing
crime at the Port of Miami. Plaintiffs argue that treating all felonies committed by applicants for
a permit to enter the Port the same does not distinguish between felonies that have no relation to

being a dockworker. Plaintiffs’ argument seems more relevant to the original ordinance and not

the amended ordinance at issue in this case. The Ordinance at issue in this case, and as presented
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in Plaintiffs’ Amended Comptaint. does not treat aii telonies equaily tor current employees. The
felony convictions that can result in the dental of an ID card to a current employee are related to
theft, drugs and violent crime. Regardless of the precise history of problems of these felonies
occurring at the Port of Miami exists.” the Court finds that the Miami-Dade Commission has
chosen a method to accomplish the goal of crime prevention at the Port that bears a rational
relation to the ultimate objective.

Plaintiff makes a further due process argument under Florida law. Florida Statutes
Section 122.011(b) states:

..a person whose civil rights have been restored shall not be disqualified to

practice. pursue, or engage in any occupation, trade, vocation, profession, or

business for which a license, permit, or certificate is required to be issued by the

state, any of its agencies or political subdivisions, or any municipality solely

because of a prior conviction for a crime. However, a person whose civil rights

have been restored may be denied a license, permit, or certification to pursue,

practice, or engage in an occupation, trade, vocation, profession, or business by

reason of the prior conviction for a crime if the crime was a felony or first degree

misdemeanor and directly related to the specific occupation, trade, vocation,

profession, or business for which the license, permit, or certificate is sought.
(emphasis added). Subsection (3) states that any complaint concerning the violation of this
section shall be adjudicated in accordance with the procedures set forth in Flonda’s

Administrative Procedures Act. Fla. Stat. § 112.011(3).

Plaintiffs argue that the Ordinance violates the above Florida statute. Assuming for the

 

> The Ordinance apparently does treat all felonies the same for purposes of the Port
Director's ability to suspend or revoke the use of an ID for current employees. However, again,
no protected class or fundamental right is at issue. Moreover. the concern of retroactive
application and injury for past felony convictions is removed in this situation of current
employees and future felony convictions. The Court finds that giving the Port Director the
ability to suspend or revoke an ID card, subject to review and precedents set by the appeals
committee is a rationally related use of government power to control crime at the Port of Miami.

* Under a rational basis test, there is no need for discovery as to the motives of the
legislators who enact an ordinance. Cash Inn, 938 F.2d at 1241.

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moment that the 1D card in question 1s covered under this statute pursuant to Florida law, the
statute allows a denial of the ID card for felonies directly related to the occupation. The
enumerated felonies in section 28A5.3(g) are directly related to reducing crime and increasing
security at the Port. More importantly, however, Section 112.011] provides for administrative
and judicial review under Florida law. Therefore, this Court is not the appropriate forum to bring
a challenge to a municipal ordinance that is proper under the United States Constitution but
allegedly improper under a Florida statute.
D. Ex Post Facto Clause

Plaintiffs next allegation in its Amended Complaint is that the Ordinance violates the Ex
Post Facto Clause of the United States Constitution in that the Ordinance reaches back in time to
punish previous felony convictions which occurred before the passage of the Ordinance.
Plaintiff cites to Peeler v. Heckler to support its argument. Peeler v. Heckler, 781 F.2d 649 (8"
Cir. 1986) (disqualification of prisoner from Social Security insurance benefits because
prisoner’s basic necessities now provided by the government). However, the Eighth Circuit held
in that case that:

if the law in question is focused on the past crime, then it is likely intended as a

punishment, while if the focus is upon the benefit from which the person is

barred, it is not, even though the impact on the individual may be harsh. The

mere denial of a noncontractual government benefit... without a showing of

penal intent, does not fall within the ex post facto prohibition.
781 F.2d at 651 (citations omitted).

The Eleventh Circuit follows a similar analysis. The Court must determine whether the
Ordinance is punitive or remedial. Manocchio v. Kusserow, 961 F.2d 1539, 1541 (11" Cir.

1992) (upholding 1987 amendment to law providing five year mandatory exclusion of doctor

from Medicare program for his 1984 offense of Medicare fraud). The Ordinance in question
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allowing denial of an [D card for past teiony convictions 1s ciearly remediai and focused on the
benefit, an ID card, to be barred, rather than as a punishment to those with prior felony
convictions. The intent of the Ordinance on its face 1s to increase security at the Port of Miami.
Therefore, Plaintiffs have not stated a claim for relief under the Ex Post Facto Clause of the
United States Constitution.
E. Contracts Clause

Plaintiffs’ final argument seeks to invalidate the Ordinance on the basis of the Contracts
Clause of the Untted States Constitution. Plaintiffs assert that as employees under contract they
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be impaired by government action. Three factors are considered when

have aright that cannot
evaluating a claim that the Contract Clause has been violated: (1) whether the Ordinance
substantially impairs a contractual relationship; (2) whether there is a significant and legitimate
public purpose for the Ordinance: and (3) whether the adjustments of rights and responsibilities
of the contracting parties are based upon reasonable conditions and arc of an appropriate nature.
Vesta Fire Insurance Corporation v. State of Florida, 14] F.3d 1427. 1433 (11" Cir. 1998).

The Ordinance does substantially impair a contractual relationship in that denial of an ID
card to a worker employed at the Port of Miami will result in his or her inability to report for
work. Thus, assuming for purposes of the motion to dismiss and for summary judgment that a
substantial impairment to Plaintiffs’ contracts exists, the Miami-Dade Commission must “have a
significant and legitimate public purpose behind the regulation." Vesta Fire Ins. Corp., 141 F.3d
at 1434. This Court finds that the Ordinance does serve a significant and legitimate public
purpose in increasing security at the Port by denying entry to employees with theft, weapons or

drug related felony convictions within the last tive years and allowing the Port Director to

suspend or revoke ID’s in the case of future felony arrests or convictions. As to the final part of
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the Contract Clause analysis, the Eleventh Circuit has stated that:

Once a legitimate purpose is identified, we must look to whether the state's

adjustments of the rights and responsibilities of the contracting parties are based

upon reasonable conditions and are of an appropriate nature. Unless the State

itself is a contracting party... courts properly defer to legislative judgment as to

the necessity and reasonableness of a particular measure.

Id. at 1434 (internal citations and quotations omitted).

In this case, Miami-Dade County is not a party to the employment contracts between the
labor union and the emplovers at the Port. Thus. this Court will not second-guess the Miami-
Dade Commission as to its conclusion that the denial of an ID card to existing Port employees
with iess thal five-year-vid felony convictions related to then, drugs or weapons is both a
necessity and a rcasonable imposition on contract rights to increase security at the Port of Miami.

Ill. CONCLUSION

This Court concludes that all claims of Plaintiffs’ Amended Complaint may be dismissed
without need for discovery, by looking at the plain language of the Ordinance and taking ail
factual allegations in the Amended Complaint as true.

Accordingly, itis ORDERED AND ADJUDGED as follows:

1. Defendant’s Motion to Dismiss [DE 16-1] and Motion for Summary Judgment [DE 16-2]
is hereby GRANTED. All claims in the Complaint under federal law as to current
employees at the Port of Miami are DISMISSED WITH PREJUDICE. All claims in
the Complaint under federal law as to prospective emplovees at the Port of Miami are
DISMISSED for lack of standing. All state law claims are hereby DISMISSED
pursuant to 28 U.S.C. §1367(c)(3), in that this Court has dismissed all claims over which

it has original jurisdiction;

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2. The Clerk shall close this case.
DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

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this 9°) day of March, 1999.
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coptes to:

Neil Flaxman. Esq.
Jess McCarty, Esq.

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